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                          UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
JULY 12, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK

PRESS ROBINSON, ET AL                                           CIVIL ACTION

VERSUS
                                                                NO. 22-211-SDD-SDJ
KYLE ARDOIN, ET AL

                                 CONSOLIDATED WITH

EDWARD GALMON, SR., ET AL                                       CIVIL ACTION

VERSUS
                                                                NO. 22-214-SDD-SDJ
KYLE ARDOIN, ET AL


       This matter came on this day for a Telephone Status Conference.

       PRESENT: Sarah E. Brannon, Esq.
                Counsel for Robinson Plaintiffs

                     Lalitha D. Madduri, Esq.
                     Counsel for Galmon Plaintiffs

                     Katherine L. McKnight, Esq.
                     Counsel for Defendants

       The parties discussed potential deadlines for proceedings for either the remedy

phase of the preliminary injunction or trial on the merits.

       The Court takes this matter under advisement and will issue a scheduling order

next week.

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C: CV 36; T: 30 mins
